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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                        )
 AMICA CENTER FOR IMMIGRANT                             )
 RIGHTS, et al.,                                        )
                                                        )
                Plaintiffs,                             )
                                                        )
                                                               Civil Action No. 1:25-cv-298-RDM
         v.                                             )
                                                        )
 U.S. DEPARTMENT OF JUSTICE, et al.,                    )
                                                        )
                Defendants.                             )
                                                        )


                    CERTIFICATION OF ADMINISTRATIVE RECORD

       I, Stephanie E. Gorman, Acting Assistant Director of the Office of Policy, Executive Office
for Immigration Review (“EOIR”), United States Department of Justice, certify that, to the best of

my knowledge, the materials listed below constitute a true and complete copy of the administrative
record with respect to the April 10, 2025, decision to terminate the operative task orders for the

five legal access programs at issue in this case.


Dated: April 24, 2025                                       __________________________________
                                                            Stephanie E. Gorman




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